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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

   SARAH JACKSON,

                     Plaintiff,

   v.                                          Case No. 3:20-cv-1060-MMH-JRK

   IMMANUEL BAPTIST CHURCH,
   et al.,

                     Defendants.


                                      ORDER

         THIS CAUSE is before the Court on Defendant Immanuel Baptist

   Church’s Motion to Dismiss Plaintiff’s Amended Complaint for Failure to State

   a Cause of Action or, in the Alternative, Motion for More Definite Statement

   and Motion to Strike and Incorporated Memorandum of Law (Doc. 38; Motion),

   filed on September 17, 2021.     Upon review of the Motion, it appears that

   Defendant has failed to include the certification required pursuant to Local

   Rule 3.01(g), Local Rules of the United States District Court for the Middle

   District of Florida (Local Rule(s)), regarding the duty to confer. Significantly,

   under the amendments to the Local Rules of this Court which took effect on

   February 1, 2021, motions to dismiss such as this are no longer exempt from




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   the conferral requirement.1 As such, the Court will require Defendant to file a

   supplement: (1) certifying that it has conferred with opposing counsel

   (2) indicating whether counsel agree on the resolution of the Motion, and (3) if

   the Motion is opposed, explaining the means by which the conference occurred,

   as Local Rule 3.01(g) requires. Accordingly, it is

         ORDERED:

         Defendant Immanuel Baptist Church is DIRECTED to file a supplement

   to its Motion (Doc. 38) with the requisite Local Rule 3.01(g) Certification on or

   before September 27, 2021.

         DONE AND ORDERED at Jacksonville, Florida this 20th day of

   September, 2021.




   lc11
   Copies:

   Counsel of record




   1 Indeed, the Court cautions counsel that the amended Local Rules contain numerous,
   significant changes. Counsel should review the Local Rules and, to familiarize themselves
   with key changes, are encouraged to review the “Video Presentation on New Local Rules”
   available on the Middle District of Florida website at www.flmd.uscourts.gov/local-rules.


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